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UNITED sTATEs DlsTRICT CoURT P';,
wEsTERN DIsTRICT 0F TENNESSEE ~
EASTERN DIvIsIoN

 

RUMONT KIRKPATRICK, )
Plaintiff, j
vs. § Civil Action No.: 1:03-1236- B/P
CORRECTIONS CORPORAT`ION j
OF AMERICA, et al., )
Defendants. j

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

Al] matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Amcrica, Doctor Crants, Pn'son Realty Trust, lnc., Correctional
Managernent Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, lnc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary eosts, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either parly.

This document entered on the docket sheet in compliance

with Rule 58 end,' or 79 (a) FRCP on m "OS 05 @

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§'*»`
Dated: this / day of ,2005.

J. DAi'LilEL BREEN§D
U IT sTATEs DISTRICTJ GE

 

 

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Rjtchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,

Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Colurnbia, SC 29201 on June 26 , 2005.

PENTECOST, GLENN & RUDD, PLLC

By; QAAMW) @%élo~>

J ames I. Penteeost (#011640)
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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case l:03-CV-01236 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

